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UNITED STATES DlSTRlCT COURT `&(;E\`_€RKS GFF\CE
MIDDLE DISTRICT OF TENNESSEE
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U.S. D\S_TR\C'T'COURT

. E.NN.
CRAIG CUNNINGHAM, Pro-se ) N“D' D`ST T

)
)

) CIVIL ACTION NO.: 3216-0\/-1673

v. ) )

Alpha Recovery Corporation

Plal'ntl`jj’

\./

Defendcmfs.

Plgin;iff’s Notice of Voluntgry Dismissal M'th Prejudice

1. The Plar`ntiff in this case hereby Wr`shes to voluntarily dismiss the case With

prejudice The parties have resolved the case.

Craig Cun:ning

Plaintiff, Pro-se

Mailing address:

5543 Edmondson Pike, ste 248
Nashville, Tn 37211

615-348-1977
September 30, 2016

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UNITED STATES DISTRICT COURT
MIDDLE DlSTRlCT OF TENNESSEE

CRAIG CUNNINGHAM, Pro-se )
)
PlaintW )
) ClVlL ACTION NO.: 3:16-cv-1673
v. ) )
Alpha Recovery Corporation )
Defena’anfs.

Certificate of Service

l. l hereby swear a true copy of the foregoing was mailed to the defendant’s attorney of
record in this case via USPS First class mail on 9/30/2016: Sarn Strange of Hosto Buchan
PLLC, PO Box 3397, Little Rock, AR 72203

gri/1

Craig Cunningham

Plaintiff, Pro-se

Mailing address:

5543 Edmondson Pike, ste 248
Nashville, Tn 137le

615-348-1977
Septernber 30, 2016

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DECLARATION OF ADAM BENTLEY

The undersigned, Adam Bentley, declares under the penalty of perjury that the following

is true and correct

l. l am an adult citizen and resident of Boise, Ada county, ldaho.
2. I am making this declaration as consideration for a Settlement Agreement in the
ease szningham v. Select Student Loan Help, et al., 3:15-CV-554, U.S. District Court Middle

District of Tennessee (the “Lawsuit”).

       
    

3. My business relationship with Technologic, Inc. was being a reseller of a dialing
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platform and telephone minutes. E:/SH;IZ:Y§F ;/;,:§/?f:t/ \//
4. I was a reseller of services that l purchased from Technologic, Inc. §a§';{;¢;/ ;A;;:¥ 5 . j /

   

5. l then resold these services to SB Marketing. id /;» ' ; a

6. I believe that SB Marketing then sold these services to Tobey West.

7. l am not personally familiar with Tobey West, and did not know who he was until
l was served With the Lawsuit.

8. I never did business with any of Tobey West’s businesses directly.

9. To the best of my knowledge, clients of SB marketing, including Tobey West,
would receive the phone calls and the revenue from the phone calls that they generated

lO. Clients of SB Marketing, including Tobey West, would then pay SB Marketing for
the minutes they used.

ll. In turn, SB Marketing would pay Innovative Mcdia for the minutes it used.

12. Finally, Innovative Media would then pay Technologic, Inc. for the minutes it used.

l3. The clients of SB Marketing, including Tobey West, were responsible for

generating their own calls.

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